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                          IN THE UNITED STATES BANKRUPTCY COURT
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                    FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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                                                           IN CHAPTER 13 PROCEEDING
     In re:                                                NO. 22-10270-CMA
13   KARIE A SIMMONS,
14
                                                           ORDER DENYING CONFIRMATION

15                   Debtor(s).
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              THIS MATTER came before the Court on the Chapter 13 Trustee’s Objection to
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     Confirmation (ECF No. 29). For the reasons stated by the Court at the May 12, 2022 hearing, it is
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              ORDERED that:
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              (1)    Confirmation of the debtor's plan (ECF No. 16) and amended plans (ECF Nos. 17
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     and 20) is denied;
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              (2)    By May 26, 2022, the debtor shall file a feasible amended chapter 13 plan;
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              (3)    By May 26, 2022, the debtor shall serve the amended plan on all creditors (mail
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     that amended plan to all creditors) along with a notice filed with the Court that:
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                     (a)    The U.S. Bankruptcy Court will hold a hearing to consider confirmation of
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     that amended plan on June 23, 2022 at 9:30 a.m. at 700 Stewart Street, Courtroom No. 7206,
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     Seattle, Washington; and
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                     (b)    Any party that objects to the amended plan shall file an objection by June16,
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     2022;

                                                                       Chapter 13 Trustee
      ORDER DENYING CONFIRMATION - 1                                 600 University St. #1300
                                                                       Seattle, WA 98101
                                                                 (206) 624-5124 FAX 624-5282
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1           (4)      By May 26, 2022, the debtor shall file a statement (proof of service) with the Court
2    that the debtor served the amended plan and notice on all creditors pursuant to Paragraph 3 of this
3    order. The debtor's statement shall include the full names and addresses of the creditors to whom
4    the debtor mailed the amended plan and notice;
5           (5)      This order is without prejudice to the Trustee’s Motion to Dismiss Case (ECF No.
6    28), which shall be heard on the Court’s May 26, 2022 calendar; and
7           (6)      The Clerk’s Office shall send a copy of this order to the debtor via the BNC.
8                                            / / /End of Order/ / /
9    Presented by:
10   /s/ Jason Wilson-Aguilar       _
     JASON WILSON-AGUILAR, WSBA #33582
11   Chapter 13 Trustee
     600 University St. #1300
12   Seattle, WA 98101
     (206) 624-5124
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                                                                        Chapter 13 Trustee
      ORDER DENYING CONFIRMATION - 2                                  600 University St. #1300
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